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The most immediate challenge facing U.S. agents along 1054
                                                      the border is the soaring number of adult migrants they are
taking into custody, particularly from Mexico. Over the past week, U.S. agents have made more than 7,000 arrests
per day on average, and Homeland Security officials are making contingency plans for that number to increase
sharply when Title 42 is lifted.

Their immediate concern is a repeat of the chaotic scenes witnessed last September in Del Rio, Tex., when thousands
of mostly Haitian migrants waded across the Rio Grande, overwhelming U.S. capacity. Authorities responded to that
incident by using the Title 42 order to carry out mass deportations to Haiti, measures denounced by leading
Democrats.

Thousands more Haitian migrants are believed to be waiting in Mexico in anticipation of the end of Title 42,
according to DHS officials familiar with the government’s planning and preparations.

Republicans demanded Wednesday that the Biden administration keep Title 42 in place for public health reasons,
noting that travelers are still wearing masks on airplanes and buses and that an even higher influx would overwhelm
the Border Patrol and distract them from stopping drug and human smugglers. Admitting migrants into the United
States will only add them to the massive backlogs in federal immigration courts, leaving cases unresolved, they said.

Sen. James Lankford (R-Okla.), a member of the Senate Committee on Homeland Security and Government Affairs,
said he has been asking the Biden administration for months about its plan for a post-Title 42 scenario. He said he
was disappointed by the administration’s contingency work.

“Their plan is to move people into the country faster,” Lankford said at the news conference. “That’s their whole
plan. What they have worked on, apparently for a year, is the way to expedite people crossing the border and moving
into the interior at a faster rate.”

DHS officials say they will deport migrants who do not qualify for protection under U.S. law. But during previous
peaks of unauthorized border crossings, they have conducted mass releases, directing migrants to voluntarily report
to authorities later on.

Biden officials said they are girding for the influx by expanding CBP holding capacity with temporary tent facilities,
while scaling up their transportation networks and adding personnel who can support emergency operations at the
border.

In an article in the New England Journal of Medicine last week, physicians and health advocates from medical
schools and nonprofits argued that the rationale for the order is “unsupported by evidence” and in some cases,
“blatantly false.”

The authors said the policy has inflicted harm on migrants pushed back to dangerous homelands or crime-ridden
border cities in Mexico, where some have been attacked.

“There is no evidence that noncitizens who lack documentation are more likely to transmit covid than are residents,
citizens, or tourists entering the country,” they wrote. “Asylum seekers represent a small fraction of the travelers
who cross the border; in the same period in which 1 million asylum seekers were expelled, nearly 100 million other
travelers were admitted at U.S. land borders.”

Democratic leaders such as Senate Majority Leader Charles E. Schumer (N.Y.) and Sen. Robert Menendez (N.J.)
have been urging the Biden administration to end the program, citing the dangers migrants face. Rep. Raul Ruiz (D-
Calif.), a medical doctor and chair of the congressional Hispanic Caucus, said low transmission rates, quarantine
programs and vaccines make the end an imperative. “Enough is enough,” he said this week.
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But others have been raising alarms, mainly Republicans but also some prominent Democrats, such as Sen. Joe
                                                      1055
Manchin III (W.Va.) and Sens. Kyrsten Sinema and Mark Kelly of the border state of Arizona who fear the
administration is unprepared for an even larger influx at the southwest border.

Manchin wrote to CDC Director Rochelle Walensky on Tuesday urging her to keep the order in place, warning of
rising border crossings and increasing covid-19 cases in parts of Europe and Asia. “Now is not the time to throw
caution to the wind,” he wrote.

The Biden administration has also been facing legal pressure to end Title 42.

After a federal judge in Texas ruled this month the government could no longer exempt unaccompanied minors from
being expelled, the CDC officially terminated the policy for that group on March 11.

In that order, Walensky said CBP could mitigate covid transmission for children and teens traveling without a parent
because they had a robust testing program and access to Health and Human Services shelters where the minors
could recover.

But she said CBP told the CDC it could not offer the same to single adults and families.

“Due to operational and facility constraints, CBP reports that it is not able to replicate this robust coronavirus testing
and isolation program for (single adults) and (family members) in its custody,” Walensky wrote.

Further pressure to alter Title 42 came from an appeals court ruling this month that said the government could expel
families, but not to nations where they might face persecution or torture. The court found the administration’s claim
that the policy slowed covid transmission “questionable.” The ruling is expected to take effect in late April, according
to the American Civil Liberties Union, which filed the lawsuit on behalf of migrant families.

“We are not cavalier about the risks of COVID-19,” the D.C. appeals court wrote. “And we would be sensitive to
declarations in the record by CDC officials testifying to the efficacy of (the restrictions). But there are none.”




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                     EXHIBIT 10
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Georgia Sen. Warnock, other vulnerable Democrats oppose
ending Title 42 border policy
By Kyle Morris

Published April 07, 2022

Fox News


Several Democrats, many who are up for reelection in their states, are pushing back against the Biden administration's decision to
terminate the use of Title 42 to expel migrants at the border.

Georgia Democrat Sen. Raphael Warnock, who won a 2021 special election and is now seeking a full term, is part of a growing list
of Democrats who are speaking out against the decision to end the policy which gave the administration the ability to bar people
from entering the country during a health crisis such as the COVID-19 pandemic.




Sen. Raphael Warnock, D-Ga., at the U.S. Capitol in Washington, June 15, 2021. (REUTERS/Evelyn Hockstein)


OBAMA HOMELAND SEC. SAYS END OF TITLE 42 BORDER POLICY ‘BIG NEWS’ IN CENTRAL AMERICA, ‘AMPLIFIED BY
SMUGGLERS’

Doubling down on prior remarks he made in opposition to ending Title 42, a spokesperson for Warnock said in a statement
Thursday morning that he "does not support lifting Title 42 at this time" and recommended that the Biden administration release an
outline for how it plans to deal with the crisis at the southern border once the policy is lifted.

"Senator Warnock believes in protecting the humanity of migrants at the border, but before this policy is rescinded, the
Administration should present a plan for how it will ensure our border security has the manpower, infrastructure, humanitarian and
legal resources they need to prevent this policy change from making an already dire humanitarian situation worse," the
spokesperson said.
                                                                                                                           WDLA-PI-0104
Sen. Jon Tester, D-Mont., has also spoken out against the move, saying the decision to end the policy "will only add to the strain on
our broken immigration system."
"Ending Title 42 is expected to cause a significant increase of migration to the United States and put more pressure on an already
             Case
broken system,"       6:22-cv-00885-RRS-CBW
                  Tester Casein 1:21-cv-00100-EGS
                         wrote   a Tuesday letter to HomelandDocument
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affect the southern border, but put more strain on those working to secure the1058
                                                                                 northern border as well."

Sen. Joe Manchin, D-W.Va., has described the move as a "frightening decision" and said last week that Title 42 has been
"essential" in combating COVID-19 and controlling the migrant flows.




Sen. Joe Manchin, D-W.Va., speaks during a Senate Armed Services Committee hearing, Tuesday, Sept. 28, 2021, on Capitol Hill
in Washington. (Stefani Reynolds/The New York Times via AP, Pool)


"We are already facing an unprecedented increase in migrants this year, and that will only get worse if the Administration ends the
Title 42 policy," Manchin said. "We are nowhere near prepared to deal with that influx."

Arizona Democrat Sens. Kyrsten Sinema and Mark Kelly have both written to and spoke with Mayorkas to express their concerns
about the policy being lifted without proper planning. Sen. Maggie Hassan, D-N.H., meanwhile, said that ending the order "will likely
lead to a migrant surge that the administration does not appear to be ready for."

Despite her willingness to sign onto letters calling for a reversal to the policy when it was used under former President Trump's
administration, Sen. Catherine Cortez Masto, D-Nev., has now changed her tune.

"This is the wrong way to do this and it will leave the administration unprepared for a surge at the border," Cortez Masto said in a
statement this week.

"We should be working to fix our immigration system by investing in border security and treating immigrant families with dignity," she
added. "Instead, the administration is acting without a detailed plan."

Cortez Masto's comments come after a 2020 letter she – along with several other congressional Democrats – signed which referred
to the policy as the "CDC asylum ban." The letter also said the policy was "designed to further an ongoing agenda to exclude
asylum seekers."




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Sen. Catherine Cortez Masto, D-Nev. (Bill Clark/CQ-Roll Call, Inc via Getty Images)


Cortez Masto's office said the senator signed the letter "condemning the Trump Administration for its harmful policies that have
dismantled the United States’ asylum system."

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The Centers for Disease Control (CDC) announced on Friday that it will be ending Title 42, which has been used by both the Biden
and Trump administrations to quickly expel migrants at the border due to the pandemic, on May 23.

"After considering current public health conditions and an increased availability of tools to fight COVID-19 (such as highly effective
vaccines and therapeutics), the CDC Director has determined that an Order suspending the right to introduce migrants into the
United States is no longer necessary," the Centers for Disease Control said in a statement.

Fox News' Adam Shaw contributed to this article.

Kyle Morris covers politics for Fox News. On Twitter: @RealKyleMorris.

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https://www.foxnews.com/politics/georgia-sen-warnock-vulnerable-democrats-oppose-ending-title-42-border



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          GOP, Dem senators back bill to postpone
          ending Title 42 at border: report



          A bipartisan group of senators introduced a bill Thursday meant to
          force the Biden administration to delay ditching the Title 42 health
          policy next month, warning that suspending the order will unleash a
          humanitarian crisis as thousands of illegal immigrants flock to the
          southern border, according to a report.

          The proposal, backed by five Democrats and six
          Republicans, would postpone the scheduled May 23 rescission of
          Title 42 by the Centers for Disease Control and Prevention until the
          administration comes up with a plan to counter the expected
          influx. The bill was first reported by Axios.

          “Arizona communities bear the brunt of the federal government’s
          failure at our border, so we’re stepping in and protecting border
          communities by ensuring the Administration works hand-in-hand with
          local leaders, law enforcement, and nonprofits to put a
          comprehensive, workable plan in place before lifting Title 42,” Sen.
          Kyrsten Sinema (D-Ariz.), who drafted the bill with Sen. James
          Lankford (R-Okla.), said in a statement. “I’ll continue pushing for
          transparency and accountability from the Administration to help
          secure the border, keep Arizona communities safe, and ensure
          migrants are treated fairly and humanely.”




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          Migrants expelled from the US and sent back to Mexico under Title 42, April 1,
          2022.




          Sen. James Lankford is the top Republican on the Senate Border Management
          Subcommittee.




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          An asylum seeker from Mexico waits outside the San Ysidro Port of Entry, which
          he hopes to cross to plead for asylum in the US, on March 22, 2022, in Tijuana,
          Mexico.


          “The Biden Administration is declaring the pandemic over on our
          southern border but still active on our healthcare workers, military,
          and travelers,” added Lankford, the top Republican on the Senate
          Border Management Subcommittee, which Sinema chairs.
          “Department of Homeland Security intel projections show that
          potentially a million people will illegally cross the moment Title 42 is
          lifted. But instead of a workable replacement plan, the only plan the
          Biden Administration seems to have is moving people faster into the
          interior of the country.

          “They cannot have it both ways. If they think it’s safe enough to lift
          Title 42 at the border, then it must be safe enough to lift the COVID-19
          state of emergency on the whole country,” Lankford added. “But when
          we drop Title 42 at the border, DHS must also implement a workable
          solution to expel migrants.”




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          Sen. Joe Manchin has called the CDC’s decision to rescind the policy
          “frightening.”




          Sen. Kyrsten Sinema drafted the bill with Sen. James Lankford.




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          Sen. Mark Kelly is one of the Democratic co-sponsors of the bill.


          The CDC instituted Title 42 in March 2020, at the onset of the COVID-
          19 pandemic in the US. The public health order has allowed border
          officials to expel nearly 2 million migrants attempting to enter the US
          without hearing asylum claims.

          Democratic co-sponsors of the bill include Sens. Mark Kelly of
          Arizona and Maggie Hassan of New Hampshire, both of whom face
          tough re-election fights this November. Fellow Democratic Sens. Joe
          Manchin of West Virginia and Jon Tester of Montana have also signed
          on.

          Republicans on board with the bill include Sens. John Thune of South
          Dakota, John Cornyn of Texas, Thom Tillis of North Carolina, Shelley
          Moore Capito of West Virginia and Rob Portman of Ohio.




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          Asylum seekers from Central America pass their time at a migrant camp and now
          hope to be allowed into the US when Title 42 is lifted, in Reynosa, Mexico, April 1,
          2022.




          A Cuban woman and her daughter wait in line to be escorted to a Border Patrol
          van for processing in Yuma, Ariz., Feb. 6, 2022, hoping to remain in the United
          States to seek asylum.


          Manchin, who represents a state that former President Donald Trump
          won by nearly 40 percentage points in 2020, has called the CDC’s
          decision to rescind the policy “frightening.”
                                                                                       WDLA-PI-0113
          “Title 42 has been an essential tool in combating the spread of
          COVID-19 and controlling the influx of migrants at our southern
          border. We are already facing an unprecedented increase in migrants
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          this year, and that will only get worse
                                             1067if the Administration ends the
           Title 42 policy,” Manchin said last week. “We are nowhere near
           prepared to deal with that influx.”

           Hassan, reacting after the CDC’s April 1 announcement that Title 42
           would be scrapped, warned of the consequences of canceling the
           policy.

           “Ending Title 42 prematurely will likely lead to a migrant surge that the
           administration does not appear to be ready for. I’ll keep pushing the
           administration to strengthen border security & look forward to hearing
           directly from border agents during my upcoming trip to the
           border,” she said on Twitter.

           The White House responded to Axios that lawmakers should approve
           the administration’s request for $10 billion in new coronavirus-related
           funding.




           The vast majority of people staying at Good Samaritan shelter are women and
           their children from Mexico and Central America who have been expelled under
           Title 42 authority or were still waiting to try for asylum.




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          Sen. John Cornyn speaks about the US-Mexico border during a press conference,
          March 30, 2022.


          “On the president’s first day in office, he sent an immigration bill to
          Congress that invests in smart solutions, effectively manages the
          border and addresses the root causes of migration. Those that are
          concerned about [the US] immigration system that [are] holding up
          COVID funding should pass it,” the White House said in a statement.

          Senate Republicans voted against the spending bill on Wednesday,
          demanding that it include an amendment keeping Title 42 in place.

          At Wednesday’s White House briefing, press secretary Jen Psaki said
          Title 42 is not an immigration policy, “it’s a public health measure,”
          and insisted the administration has a plan in place.




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          A woman embraces a child at the Good Samaritan shelter in Juarez, Mexico,
          Wednesday, March 30, 2022.




          The bill is meant to force the Biden administration to delay ditching the Title 42
          health policy next month.


          “But as we’re implementing this over the course of the next five
          weeks, if I’m doing my math correctly, we’ve also surged resources
          from the Department of Homeland Security. And we will continue to
          take additional steps to implement and make clear that this is not the
          time to come, that there are — there will still be significant measures
          put in place for anyone who tries to irregularly migrate to the United
          States,” she said.                                                           WDLA-PI-0116
          Federal officials estimate that as many as 170,000 migrants will head
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          to the border once the Title 42 policy
                                            1070ends.

          The number of illegal immigrants encountered at the southern border
          shot up 6.6% in February from January, Customs and Border
          Protection said.




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                    EXHIBIT 12
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           117TH CONGRESS
              2D SESSION


           To establish a procedure for terminating a determination by Surgeon General
                  to suspend certain entries and imports from designated places.




                IN THE SENATE OF THE UNITED STATES
                                      llllllllll
           Mr. LANKFORD (for himself, Ms. SINEMA, Mr. CORNYN, Mr. KELLY, Mr.
               THUNE, Mr. MANCHIN, Mrs. CAPITO, Mr. TESTER, Mr. PORTMAN, Ms.
               HASSAN, and Mr. TILLIS) introduced the following bill; which was read
               twice and referred to the Committee on llllllllll




                                      A BILL
           To establish a procedure for terminating a determination
              by Surgeon General to suspend certain entries and im-
              ports from designated places.

            1        Be it enacted by the Senate and House of Representa-
            2 tives of the United States of America in Congress assembled,
            3   SECTION 1. SHORT TITLE.

            4        This Act may be cited as the ‘‘Public Health and Bor-
            5 der Security Act of 2022’’.




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            1   SEC. 2. TERMINATION OF SUSPENSION OF ENTRIES AND

            2               IMPORTS FROM DESIGNATED PLACES RE-

            3               LATED TO THE COVID–19 PANDEMIC.

            4       (a) IN GENERAL.—An order of suspension issued
            5 under section 362 of the Public Health Service Act (42
            6 U.S.C. 265) as a result of the public health emergency
            7 relating to the Coronavirus Disease 2019 (COVID-19)
            8 pandemic declared under section 319 of such Act (42
            9 U.S.C. 247d) on January 31, 2020, and any continuation
           10 of such declaration (including the continuation described
           11 in Proclamation 9994 on February 24, 2021), shall be lift-
           12 ed not earlier than 60 days after the date on which the
           13 Surgeon General provides written notification to the ap-
           14 propriate authorizing and appropriating committees of
           15 Congress that such public health emergency declaration
           16 (including the continuation described in Proclamation
           17 9994 on February 24, 2021) have been terminated.
           18       (b) PROCEDURES DURING 60-DAY TERMINATION
           19 WINDOW.—
           20            (1) PLAN.—Not later than 30 days after the
           21       date on which a written notification is provided
           22       under subsection (a) with respect to an order of sus-
           23       pension, the Surgeon General, in consultation with
           24       the Secretary of Homeland Security, and the head of
           25       any other Federal agency, State, local or Tribal gov-
           26       ernment, or nongovernmental organization that has
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            1       a role in managing outcomes associated with the
            2       suspension, as determined by the Surgeon General
            3       (or the designee of the Surgeon General), shall de-
            4       velop and submit to the appropriate committees of
            5       Congress, a plan to address any possible influx of
            6       entries or imports, as defined in such order of sus-
            7       pension, related to the termination of such order.
            8            (2) FAILURE    TO SUBMIT.—If      a plan under
            9       paragraph (1) is not submitted to the appropriate
           10       committees of Congress within the 30-day period de-
           11       scribed in such paragraph, not later than 7 days
           12       after the expiration of such 30-day period, the Sec-
           13       retary shall notify the appropriate committees of
           14       Congress, in writing, of the status of preparing such
           15       a plan and the timing for submission as required
           16       under paragraph (1). The termination of order re-
           17       lated to such plan shall be delayed until that date
           18       that is 30 days after the date on which such plan
           19       is submitted to such committees.




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          Sens. Kelly and Sinema on the Biden
          Administration’s Decision to End Title 42 »
          Senator Mark Kelly

             April 1, 2022

          Today, Arizona Senators Mark Kelly and Kyrsten Sinema issued the
          following statements regarding the Biden Administration’s decision
          to announce an end to the Title 42 public health authority without first
          implementing a comprehensive response plan. Last week, Kelly and
          Sinema underscored to the Administration how Arizona communities,
          migrants, and public health could be harmed if a Title 42 end is not
          accompanied by proper planning, coordination, and resources.

          “This is the wrong decision. It’s unacceptable to end Title 42 without
          a plan and coordination in place to ensure a secure, orderly, and
          humane process at the border. From my numerous visits to the
          southern border and conversations with Arizona’s law enforcement,
          community leaders, mayors, and non-profits, it’s clear that this
          administration’s lack of a plan to deal with this crisis will further strain
          our border communities. Despite this decision, I’m going to continue
          pushing for Arizona to get every additional resource that we can to
          assist at the border,” said Senator Kelly.

          “Prematurely ending Title 42 without a comprehensive, workable
          plan would put at risk the health and safety of Arizona communities
          and migrants. Today’s decision to announce an end to Title 42 despite
          not yet having a comprehensive plan ready shows a lack of
          understanding about the crisis at our border. I’ll continue pushing for
          transparency and accountability from the Administration to help
          secure the border, keep Arizona communities
          safe, and ensure migrants are treated fairly and humanely,” said
          Sinema, Chair of the Border Management Subcommittee.

          This week Kelly and Sinema spoke with U.S. Homeland Security WDLA-PI-0123
          Secretary Alejandro Mayorkas to discuss the Administration’s Title 42
          contingency plans. Both senators underscored how Arizona
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          communities and migrants could1077
                                          be harmed if a Title 42 end is not
          accompanied by proper planning, coordination, and
          resources. Sinema also raised concerns she heard from her
          recent virtual border roundtable with federal and non-governmental
          partners in Arizona, and other conversations she has had with Arizona
          DHS officials. Sinema called for DHS to launch an
          intergovernmental coordination effort to ensure communication
          between federal, state, local, and non-governmental partners to
          strengthen cooperation. Secretary Mayorkas agreed to move forward
          with that strategy across the country. Kelly emphasized the need for
          proactive engagement and clear communications between the
          Department of Homeland Security, Congressional offices, local
          officials, sheriffs, and local governments. He also asked Secretary
          Mayorkas for details on how the increased funding Kelly and Sinema
          secured in the omnibus for border management and security will be
          used, especially as Title 42 is lifted.

          Recently, Kelly and Sinema sent a letter to President Biden
          expressing concerns that an abrupt end to Title 42 enforcement
          without a comprehensive response plan in place could harm Arizona
          communities and migrants and greatly increase the strain on
          Department of Homeland Security, and local nonprofits that are
          already near or at capacity due to the current border crisis. Kelly and
          Sinema’s letter states that Title 42 authority should not be used
          indefinitely, but points out that migrants and Arizona communities
          could be harmed if an ending to Title 42 is not accompanied by proper
          planning, coordination, and resources.

          Last June, Kelly and Sinema asked Department of Homeland Security
          Secretary Alejandro Mayorkas to proactively create a comprehensive
          plan in advance of an end to Title 42 and requested to be briefed on
          this plan. In their most recent letter, the Senators say they have not
          seen evidence that DHS has developed and implemented a sufficient
          plan. Recently, Kelly and Sinema secured critical federal funding to
          help Arizona manage the current migrant crisis, improve border
          security, and keep Arizona communities safe.                        WDLA-PI-0124

          No related posts.
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American Rescue Plan: Learn More About Direct Funding For Recovery And Infrastructure In
West Virginia
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APRIL 01, 2022


MANCHIN: TITLE 42 MUST STAY IN PLACE UNTIL
WE HAVE MAJOR IMMIGRATION REFORMS
Washington, DC – Today, U.S. Senator Joe Manchin (D-WV) released the following
statement on the Biden Administration’s decision to end the Title 42 policy on May 23,
2022.


“Today’s announcement by the CDC and the Biden Administration is a frightening
decision,” said Senator Manchin. “Title 42 has been an essential tool in combatting the
spread of COVID-19 and controlling the influx of migrants at our southern border. We are
already facing an unprecedented increase in migrants this year, and that will only get
worse if the Administration ends the Title 42 policy. We are nowhere near prepared to deal
with that influx. Until we have comprehensive, bipartisan immigration reform that commits
to securing our borders and providing a pathway to citizenship for qualified immigrants,
Title 42 must stay in place.”


In Fiscal Year (FY) 2021, encounters with migrants reached an all-time high of 1.7 million
people, which is four times higher than the 400,000 encounters reported the previous
year, and the United States is on pace to set a new record again this year. Through the
first five months of FY22, the Department of Homeland Security (DHS) reports that
Customs and Border Patrol (CBP) has experienced more than 838,000 migrant
encounters.


Earlier this week, Senator Manchin called on the Centers for Disease Control and
Prevention (CDC) Director Rochelle Walensky to extend the Title 42 policy due to rising
COVID-19 cases across the globe and surging migrant encounters.           WDLA-PI-0128
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          Vulnerable Democrats brace for border surge

          by Alexander Bolton - 04/05/22 6:00 AM ET
          Senate Democrats are bracing for a surge of migrants at the southern
          border in the wake of President Biden’s decision to rescind a key
          restriction, creating yet another political headwind for Democratic
          candidates ahead of the midterm elections.

          Vulnerable and centrist Democrats are scrambling to distance
          themselves from Biden’s decision, which came under intense
          pressure from progressives and immigration advocates, to limit their
          own political liability.

          Biden’s decision to reverse the rule, known as Title 42, which the
          Trump administration implemented in 2020 and has been used to
          carry out 1.7 million deportations, is expected to spur huge new
          inflows of migrants.

          Sen. Raphael Warnock (Ga.) on Monday became the latest vulnerable
          Senate Democrat to criticize Biden’s decision.

          “I think this is not the right time and we have not seen a detailed plan
          from the administration. We need assurances that we have security at
          the border and that we protect communities on this side of the
          border,” he said. “I think this is the wrong time and I haven’t seen a
          plan that gives me comfort.”

          He faces a tough race in a state that Biden narrowly won by 12,000
          votes.

          Democratic strategists say the Biden administration needs to be
          prepared to send federal resources to Arizona and other border areas
          to prevent local communities from being overwhelmed.

          “When voters think that our party cares more about something else
          other than we care about the issues that matter in their everydayWDLA-PI-0130
                                                                           lives,
          we lose. And management of the border provides a really good
          example of that fact,” said John LaBombard, a former aide to Sen.
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          Kyrsten Sinema (D-Ariz.), who last week criticized Biden’s decision.
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          “It would be a mistake to underestimate the impact on these
          communities, these small towns whenever there’s a surge in migrants
          attempting to cross the border. It’s a really big deal,” he added. “These
          communities have always felt, and Sen. Sinema often points this out,
          that they’re not getting the support they need from the federal
          government and instead they’re having to carry the water for decades,
          for multiple administrations’ failures, as it relates to effectively
          managing the border.”

          Sinema says that “prematurely ending Title 42 without a
          comprehensive, workable plan” will put at risk the health and safety of
          Arizona communities.

          It’s a looming problem for Sen. Mark Kelly (D-Ariz.), who is running for
          reelection in a state where Biden’s approval rating has dropped
          precipitously in recent months. One of Biden’s biggest vulnerabilities
          in the state is his handling of immigration-related issues, according to
          a recent poll.

          Kelly on Friday blasted the administration’s order as “the wrong
          decision” and said “it’s unacceptable to end Title 42 without a plan
          and coordination in place to ensure a secure, orderly and humane
          process at the border.”

          It’s also a political headache in other Senate battlegrounds, where
          Republicans plan to use the southern border as a cudgel against
          Democratic candidates.

          “If they’re going to withdraw Title 42, they got to have something in its
          place and right now they have nothing, and it’s going to be a human
          tsunami across the border and we’re going to lose control, that’s what
          the Border Patrol tells me,” said Sen. John Cornyn (Texas), the senior
          Republican on the Senate Judiciary Committee’s immigration
          subcommittee.

                                                                     WDLA-PI-0131
          Sen. Maggie Hassan (D), who has a tough race in New Hampshire,
          warned that “ending Title 42 prematurely will likely lead to a migrant
          surge that the administration does not appear to be ready for.”
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          Senate Minority Leader Mitch McConnell (R-Ky.) on Monday panned
          the administration’s move as “an unbelievably bad decision.”

          “They’re going to further cave to the far left that wants open borders.
          They’re going to cancel Title 42 this spring with no real border security
          plan to replace it,” he said on the floor. “This is such an absurd
          decision, such an unforced gaffe that even some of our Democratic
          colleagues have come out swinging.”

          Democratic strategists say it’s smart for Warnock, Kelly and
          Hassan to ready their defenses in case Biden’s decision invites new
          waves of migrants, negative media attention and Republican political
          attacks.

          “I think it’s probably inevitable that we’re going to be facing down
          another big surge in migrants here at some point,” LaBombard said.

          “We know there’s going to be challenges at the border, so the best
          case scenario is that there’s a plan in place and the resources in place
          to support. … That should be shaped and guided by direct input from
          mayors, law enforcement, nonprofits,” he added.




          Steve Jarding, a Democratic strategist and former advisor to the
          Democratic Senatorial Campaign Committee, said vulnerable
          Democrats were going “to pay a price” for what’s happening at the
          U.S.-Mexico border regardless of Biden’s decision on Title 42. But he
          said the president’s action likely makes the political problem worse.

          “If you look at some of the polling that’s come out … those issues are
          working” for Republicans, he said.                                   WDLA-PI-0132
          “It seems to add fuel to the fire and it puts some of these more
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          middle-of-the-road Democrats in 1086
                                             an awkward position, and all of that
           begs the question as to why you would do that,” he added.

           Lanae Erickson, senior vice president for social policy at Third Way, a
           centrist Democratic think tank, said the administration was under
           pressure to act because courts were likely to soon rule against the
           continued use of Title 42 to deny asylum claims.

           “The courts were moving in direction of forcing the administration to
           act here. To the extent that the administration is now getting in front
           of that and setting up a plan to do this in an orderly fashion, I think
           that’s great news,” she said.

           “It’s also better that it’s happening further away from the midterms
           because obviously immigration is a tricky subject for Democrats and
           one that divides swing voters from our base in a lot of
           circumstances,” she explained. “We could not rely on this public
           safety measure indefinitely to keep people out of the country.”

           Morgan Jackson, a leading Democratic strategist based in North
           Carolina, a swing state, said he expects Republicans to come at
           Democratic candidates hard on border- and immigration-related
           issues.

           “Obviously Republicans are going to try to make immigration a top
           issue. They have tried to do that for the last 10 years, almost every
           election,” he said.

           He said voters are more concerned about “pocketbook issues” such
           as the strength of the economy, inflation, rising gas prices and the
           cost of health care.

           “I think what you’ll see Democrats try to do is talk about issues that
           actually affect families in 2022. Based on where we are with the
           economy, based on the uncertainty where we are with Ukraine, I think
           people are looking for solutions and not just pointing at problems,” he
           said.
                                                                         WDLA-PI-0133
           At the same time, he says its smart for Democrats such as Warnock,
           Kelly and Hassan to distance themselves from Biden’s Title 42
          decision.
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          “You’ve got Democrats who are making smart decisions in tough
          races — Mark Kelly, Maggie Hassan — who say, ‘Hey, I’m not going to
          let Republicans use this as a talking point on me,’” he said. “By issuing
          a criticism [of Biden’s decision], they take this issue off the table for
          their races.”




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         C.D.C. Confirms It Will Lift Public Health
         Order Restricting Immigration
         The agency cited “current public health conditions and an increased availability
         of tools to fight Covid-19” as grounds for returning in late May to prepandemic
         policies for admitting migrants.

                   By Eileen Sullivan


         April 1, 2022


         WASHINGTON — The Centers for Disease Control and Prevention announced on Friday
         that it would lift an emergency public health order that had restricted immigration at U.S.
         land borders since the beginning of the pandemic, citing “current public health conditions
         and an increased availability of tools to fight Covid-19.”

         Federal officials expect the policy change, which will go into effect on May 23, to draw
         thousands more migrants to the southwestern border every day, in addition to the already
         high number of people who have been arriving over the past year from Latin America and
         across the globe. Republicans, who have described the border situation as out of control
         under President Biden, immediately condemned the C.D.C.’s decision. The order has been
         used to expel migrants about 1.7 million times over the past two years.

         “I hereby determine that the danger of further introduction, transmission or spread of
         Covid-19 into the United States from covered noncitizens, as defined in the August order,
         has ceased to be a serious danger to the public health,” Dr. Rochelle P. Walensky, the
         C.D.C. director, wrote in her justification for ending the policy. She also said that she could
         issue a new order in the future “based on new findings, as dictated by public health needs.”

         The order, known as Title 42, gives officials the authority to turn away migrants at the
         border, including those seeking asylum. The process takes about 15 minutes, a factor that
         has helped the Border Patrol manage the sometimes overwhelming number of
         undocumented migrants gathering at the border.

         Without the order in place, stations will be more overcrowded and backed up while
         officials go through the typical screening process, which can take more than an hour per
         person. Under the normal process, migrants who cannot provide a legalWDLA-PI-0136
                                                                                  reason for why


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         they are in the United States are detained until they are deported. Those who request
         asylum are typically released, often with monitoring devices, while they away court dates.

         The continuation of the public health order over the past two years thrust the typically
         apolitical C.D.C. into the heated immigration debate, even as the Biden administration has
         argued the order is not being used to manage illegal migration.

         The agency had been under growing pressure from Democratic lawmakers, including
         Senator Chuck Schumer of New York, the majority leader, to not only end the rule but also
         provide justification for why it was necessary.

         Public health experts have questioned the order’s value in containing the coronavirus,
         especially at this point in the pandemic. The Biden administration began offering
         vaccinations to undocumented migrants at the border this week — about 2,000 a day
         along 11 areas of the border, the department said. In the next few weeks, that number will
         go up to 6,000 vaccinations a day at 27 locations.

         “These measures, along with the current public health landscape where 97.1 percent of the
         U.S. population lives in a county identified as having ‘low’ Covid-19 community level, will
         sufficiently mitigate the Covid-19 risk for U.S. communities,” the C.D.C. said in a
         statement.

         News of the decision broke on Wednesday; it is expected to face legal challenges.

         When the C.D.C. explained in August why it was extending the order, Covid-19 cases were
         averaging more than 60,000 a day, the highly transmissible Delta variant was causing
         more hospitalizations, and the number of deaths caused by the virus was increasing.

         Now, case numbers have fallen sharply in most of the United States, and the C.D.C. has
         loosened many restrictions. The average number of cases on Thursday was less than
         28,000 a day. An Omicron subvariant, BA.2, could cause another surge in the United
         States in the coming months, though it does not appear to be causing widespread severe
         illness in Europe, where caseloads are higher.

         The White House and Department of Homeland Security have deflected questions about
         the policy in recent months to the C.D.C., which said little about its rationale for extending
         the order.

         But unlike with other public health measures put in place during the pandemic, the C.D.C.
         never publicly disclosed scientific data that showed that undocumented migrants crossing
         the border were a major vector for the coronavirus.
                                                                                   WDLA-PI-0137
         “It’s far from clear that the C.D.C.’s order serves any purpose,” a panel of judges on the


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         U.S. Court of Appeals for the District of Columbia Circuit wrote in a ruling in March on a
         case about the public health rule.

         Dr. Anthony S. Fauci, the nation’s top infectious disease expert, has said immigrants were
         not a driving force in the spread of the coronavirus in the United States.

         “Focusing on immigrants, expelling them or what have you, is not the solution to an
         outbreak,” he said on CNN in October.

         The order — which advocates say has put many people who were expelled under it in grave
         danger because of violence, poverty and instability in their home countries — has faced
         several lawsuits. Immigration advocates were under the impression that the Biden
         administration was working to lift the rule last summer for some migrants, but that never
         happened.

         Some advocates said this week that waiting until late May to lift the order would further
         endanger the lives of vulnerable migrants seeking asylum.

         “Given how long the administration has had to plan for the end of Title 42, the number of
         lives at stake daily and the court decisions finding Title 42 illegal, it is essential the
         administration immediately begins winding down Title 42 and not wait to do so until the
         end of May,” said Lee Gelernt, a lawyer with the American Civil Liberties Union who has
         been one of the lead voices arguing that the rule should be lifted for migrant families.

         Border officials enforce the order inconsistently, using it a little more than half the time
         they encounter migrants. This has led to great confusion for migrants about whether they
         should make the attempt.

         Alejandro N. Mayorkas, the homeland security secretary, warned in a statement that
         smugglers offering transportation to areas just south of the U.S. border “will spread
         misinformation to take advantage of vulnerable migrants.”

         He said, “Let me be clear: Those unable to establish a legal basis to remain in the United
         States will be removed.”

         Because border officials did not have to ask migrants whether they feared returning to
         their country under the public health order, officials expect the summer surge to include a
         significant number of asylum seekers. Those found eligible to apply for asylum typically
         spend years — sometimes a decade — waiting for their case to be heard, because the
         immigration court system is so backlogged.

         Some critics have also said that the rule has fueled racist notions that immigrants carry
                                                                                   WDLA-PI-0138
         infection into the United States and has been used more as a way to control   immigration.


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         Even before the pandemic, the Trump administration tried to get the C.D.C. to use its
         authority to issue such an order to address an outbreak of mumps in immigration
         detention centers in six states, and separately when Border Patrol stations were hit with
         the flu. Those attempts were not successful, in part because other administration officials
         argued that there was no legal basis.

         On Friday, Ronna McDaniel, the chairwoman of the Republican National Committee,
         criticized the administration for lifting the rule, repeating the Republican talking point
         that illegal immigration has spun out of control since Mr. Biden succeeded former
         President Donald J. Trump. Illegal immigration had spiked under Mr. Trump, as well, in
         2019. But it declined in 2020 because of restrictions his administration put in place and
         the pandemic.

         “By removing Title 42, Biden’s doubling down on his commitment to actively worsening
         the crisis he created,” Ms. McDaniel said in a statement.




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                    EXHIBIT 18
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          CDC extends transportation mask rule for two
          weeks

          Agency cites the uncertain impact of BA.2 variant, as airlines seek
          relief




          Travelers are lining up at O’Hare airport in Chicago, Friday, July 2, 2021. The
          federal requirement to wear face masks on airplanes and public transportation is
          scheduled to expire next week, and airline executives and Republican lawmakers
          are urging the ... more >


          By Tom Howell Jr. - The Washington Times - Updated: 1:14 p.m. on
          Wednesday, April 13, 2022
          The Biden administration will extend the federal mask mandate on
          public transportation for another two weeks because it wants time to
          evaluate the BA.2 variant and whether it will cause major problems.

          The mask rule had been set to expire on April 18 but it will last until at
          least May 3.

          The Centers for Disease Control and Prevention said the fast-moving
          variant, which now accounts for over 85% of cases in the U.S., is
          causing a noticeable uptick in infections.

          “Since early April, there have been increases in the seven-day moving
                                                                           WDLA-PI-0141
          average of cases in the U.S. to assess the potential impact the rise of
          cases has on severe disease, including hospitalizations and deaths,
          and health care system capacity, the CDC order will remain in place at
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          this time,” the CDC said in a written statement.
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          The Transportation Security Administration decided to accept the
          CDC recommendation and extend the mask rule, which requires face
          coverings on planes, trains and buses. It is one of the few remaining
          mandates in place as much of the country tries to let individuals
          manage their own risk from the coronavirus.



          Top Articles




          Republicans swiftly lambasted the extension.

          Sen. Rand Paul, Kentucky Republican, said people should vote out the
          “petty tyrants” imposing mask rules.

          Others said the extension was inconsistent with the CDC’s move to lift
          Title 42, a pandemic order that allowed the U.S. to swiftly turn back
          migrants at the border.

          “I bet masks aren’t enforced for the illegal immigrants streaming
          across our southern border – just for Americans who simply want to
          go on vacation,” tweeted Morgan Ortagus, a former State Department
          spokeswoman and GOP candidate for Congress in Tennessee.

          While some passengers might feel safer because of the mandate,
          major airlines have lobbied President Biden to let the rule expire, citing
          the burden of enforcement and the fact the CDC does not recommend  WDLA-PI-0142

          universal mask-wearing in much of the country.
          Flight attendants have made similar arguments in lawsuits against
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          the mandate and say it is difficult1096
                                              to wear masks for hours on end.

          Daily case counts remain close to pandemic lows across the country
          but are slowly increasing and top 30,000 per day.

          Hospitalizations have continued to decline and the daily average of
          patients sits below 15,000 as scientists point to a possible
          decoupling of cases and bad outcomes because of vaccines,
          boosters and available treatments.

          White House COVID-19 Coordinator Ashish Jha told NBC’s “Today”
          earlier in the week that CDC scientists will be taking the lead on the
          decision and are developing a scientific framework that guides the
          mandate.

          “We’ll make a decision collectively based on that,” he said.




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          CDC extends travel mask requirement to May
          3 as COVID rises

          By ZEKE MILLER and DAVID KOENIG
          31 minutes ago




          WASHINGTON (AP) — The Biden administration announced
          Wednesday that it is extending the nationwide mask requirement for
          airplanes and public transit for 15 days as it monitors an uptick in
          COVID-19 cases.

          The Centers for Disease Control and Prevention said it was extending
          the order, which was set to expire on April 18, until May 3 to allow
          more time to study the BA.2 omicron subvariant that is now
          responsible for the vast majority of cases in the U.S.

          “In order to assess the potential impact the rise of cases has on
          severe disease, including hospitalizations and deaths, and health care
          system capacity, the CDC order will remain in place at this time,” the
          agency said in a statement.

          When the Transportation Security Administration, which enforces the
          rule for planes, buses, trains and transit hubs, extended the       WDLA-PI-0145
          requirement last month, it said the CDC had been hoping to roll out a
          more flexible masking strategy that would have replaced the
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          nationwide requirement.         1099

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          Alabama health officer tests positive for COVID-19

          The mask mandate is the most visible vestige of government
          restrictions to control the pandemic, and possibly the most
          controversial. A surge of abusive and sometimes violent incidents on
          airplanes has been attributed mostly to disputes over mask-wearing.

          Airlines have lobbied for months to kill the requirement, arguing that
          effective air filters on modern planes make transmission of the virus
          during a flight highly unlikely. Republicans in Congress also fought to
          kill the mandate.

          Critics have seized on the fact that states have rolled back rules
          requiring masks in restaurants, stores and other indoor settings, and
          yet COVID-19 cases have fallen sharply since the omicron variant
          peaked in mid-January.

          “It is very difficult to understand why masks are still required on
          airplanes, but not needed in crowded bars and restaurants; in packed
          sports arenas; in schools full of children; or at large indoor political
          gatherings,” Nicholas Calio, the CEO of industry trade group Airlines
          for America, said Wednesday in a letter to the heads of the CDC and
          the Health and Human Services Department. “Simply put, an
          extension of the mask mandate does not make sense.”

          There has been a slight increase in cases in recent weeks, with daily
          confirmed cases nationwide rising from about 25,000 per day to more
          than 30,000. More than 85% of those cases are the highly contagious
          BA.2 strain. Those figures could be an undercount since many people
          now test positive on at-home tests that are not reported to public
          health agencies.

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          Severe illnesses and deaths tend to lag infections by several weeks.
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          The CDC is awaiting indications of whether the increase in cases
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          correlates to a rise in adverse outcomes before announcing a less
          restrictive mask policy for travel.

          A poll in mid-March by the Kaiser Family Foundation found that
          Americans are evenly divided over keeping the mask rule for
          transportation.

          The poll found that 51% wanted the mandate to expire and 48% said it
          should remain in place – in effect, a tie, given the poll’s margin of
          error. Democrats overwhelmingly supported the rule, and Republicans
          were even more united in opposing it. Vaccinated people and those
          with chronic health conditions favored keeping the rule, but by smaller
          margins.

          Airlines imposed their own mask mandates in 2020, when the Trump
          administration declined to take action. Unions representing flight
          attendants, which once backed mask rules, now decline to take a
          position because their members are divided over the issue.

          It is unclear whether eliminating the rule would make people more or
          less likely to travel on planes or subways.

          Ed Bastian, the CEO of Delta Air Lines, said that some people might
          start flying if they don’t have to wear a mask, and others might stop
          flying if other passengers are unmasked. He called both groups
          “fringe,” and he predicted that many people will continue to wear
          masks even if the rule is dropped.

          ___

          David Koenig reported from Dallas. AP Health Writer Mike Stobbe in
          New York contributed to this report.




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                    EXHIBIT 20
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              Official website of the Department of Homeland Security




                       U.S. Customs and
                       Border Protection
                       (/)




            WASHINGTON—U.S. Customs and Border Protec on Commissioner Chris Magnus issued the following statement
            following Friday’s announcement that Centers for Disease Control and Preven on’s (CDC) will, eﬀec ve May 23,
            2022, terminate its Title 42 public health Order:

            “The Centers for Disease Control and Preven on announced Friday that it will terminate its Title 42 public health
            order eﬀec ve May 23, 2022. Pursuant to its Title 42 authority, the CDC has, since March 2020, required the
            expulsion of unauthorized single adults and family units arriving at the land borders in order to protect against the
            spread of COVID-19. The CDC’s Title 42 order, implemented at the height of the pandemic, is not a border
            management authority.

            “Throughout our agency’s history we have capably managed immigra on at the border u lizing the authori es
            under Title 8 of the US Code (tradi onal immigra on management authori es). These authori es allow non-
            ci zens appropriate access to make asylum claims and include a range of enforcement op ons to hold individuals
            accountable for entering the U.S. illegally. This means most individuals who cross the border without legal
            authoriza on will be promptly placed in removal proceedings.

            “As a result of the CDC’s termina on of its Title 42 public health order, we will likely face an increase in encounters
            above the current high levels. There are a signiﬁcant number of individuals who were unable to access the asylum
            system for the past two years, and who may decide that now is the me to come.

            “We are doing everything we can to prepare for this increase, ensure we con nue to process people humanely,
            and impose consequences on those who break the law. At the same me, we will con nue to use all available
            resources to secure our borders. This includes the increased use of technology, on-ground monitoring, use of
            drones, and addi onal support personnel to supplement BP agents and free them up from processing du es
            whenever possible.

            “I’d like to note that we are not in this alone. Speciﬁc ac ons being taken to address ongoing and poten al future
            developments at the border include:
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                  Increasing our work with other governmental agencies, including Immigra on and Customs Enforcement,
                  the Federal Emergency Management Agency, the Department of Health and Human Services, U.S.
                  Ci zenship and Immigra on Services, the Department of Jus ce, the U.S. Marshals Service, the Department
                  of State and other federal en    es to address poten al increases in the number of migrants coming across
                  the border.
                   Expanding coordina on with various non-governmental agencies, including a range of non-proﬁt
                   organiza ons, faith-based en     es, and others (both at and away from the border area) to help facilitate
                   short-term-care and transporta on for migrant asylum-seekers.
                   Shi ing Border Patrol agents and CBP oﬃcers from other loca ons to assist at the border.
                   Increasing the number of ICE personnel working alongside CBP personnel to assist in processing migrants
                   and enforcement ac ons along the border.
                   Ac va ng other DHS personnel who have volunteered to temporarily work on the border assis ng with
                   data entry and the care and custody of migrants.
                   Increasing the number of (non-sworn) Border Patrol Processing Coordinators and contractors to assist with
                   processing migrants.
                   Maximizing the use of air and ground transporta on to move migrants from sectors that are over capacity
                   to other CBP loca ons.
                   Shi ing our processing of migrants to u lize the full range of op ons under Title 8 (tradi onal immigra on
                   authori es).
                   Increasing the inves ga on and prosecu on of human smuggling networks responsible for illegal border
                   crossings.
                   Increasing access to and eﬃciency of the asylum system by restar ng normal asylum-seeker processing at
                   ports of entry and working with other DHS partners to decrease the length of these processes (this is being
                   done, in part, by adop ng a new rule to expedite processing by asylum oﬃcers).
                   Adding new short-term facili es at key border loca ons to reduce over-crowding.
                   More eﬀec vely tracking the movements of various migrant groups who may be headed towards the U.S.
                   border.
                   Working closely with foreign governments to conduct joint enforcement opera ons.
                   Increasing repatria ons under Title 8 (returning migrants to their coun es of origin).
                   Con nuing work with foreign governments to increase economic opportuni es and stem migra on out of
                   those countries.
                   Developing and u lizing new approaches in the use of social media to educate and warn migrants about
                   the dangers of human smugglers (o en associated with cartels) who facilitate travel to the U.S.

            “Our na on has asked for much of the CBP team over the past several years. This challenging work is not done; we
            face demanding days ahead. I am con nually impressed by the dedica on of CBP personnel every day and
            honored to serve as CBP’s Commissioner.”



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                          Exhibit B




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

  THE STATE OF ARIZONA,
  By and through its Attorney General, Mark
  Brnovich, et al.,

  THE STATE OF LOUISIANA,
  By and through its Attorney General, JEFF
  LANDRY,

  THE STATE OF MISSOURI,                               CIVIL ACTION NO. _______________
  By and through its Attorney General, ERIC S.
  SCHMITT;


                                         PLAINTIFFS,

  v.

  CENTERS FOR DISEASE CONTROL &
  PREVENTION; et al.,

                                      DEFENDANTS.


                              DECLARATION OF ANTHONY R. NAPOLITANO




 I, Anthony R. Napolitano, declare as follows:

       1. I am over 18 years of age and am fully competent to make this declaration. I am an Assistant
          Attorney General in the Solicitor General’s Office at the Arizona Attorney General’s Office,
          and I am admitted to practice law in the State of Arizona. My pro hac vice application in the
          above-captioned is forthcoming. I submit this Declaration in support of Plaintiffs’ Motion for
          Preliminary Injunction. I have personal knowledge of the facts stated herein.

       2. Attached hereto as Exhibit 1 is a true and correct copy of the Declaration of Mark D. Napier,
          who at the time the declaration was executed was the Chief of Staff for the Cochise County
          Sheriff’s Office in Cochise County, Arizona. He has also previously served as the Sheriff of
          Pima County, Arizona and began his career in law enforcement in 1981. Among other things,
          the declaration states that:



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       •   “For the period from July 2020 to January 2021” “only 27.6%” of “undocumented
           persons” crossing the southern border were apprehended by DHS personnel.

       •   From “January through September 2020 there were 181 sets of human remains recovered
           in the border region of Arizona’s desert. Each of these recoveries results in the tremendous
           expenditure of law enforcement resources.”

       •   “Migrants abandoned by transnational criminal organizations trafficking in humans on the
           north side of the border frequently call local law enforcement in distress….. These often
           led to significant expenditures of county and Border Patrol resources to affect rescue in
           the hope of preventing additional migrant deaths.”

       •   U.S. policies that incentivize increased illegal immigration “will likely increase the number
           of those who perish in the desert” and that “[t]he recovery of human remains will continue
           to place additional strains on law enforcement.”

    3. Attached hereto as Exhibit 2 is a true and correct copy of the Declaration of Mark Lamb, who
       is the Sheriff of Pinal County, Arizona, and has over 14 years of law enforcement experience.
       Among other things, the declaration states that:

       •   The Pinal County Sherriff’s Office “has recorded a surge in the number of pursuits of
           suspected unauthorized aliens” since the beginning of 2021.

       •   The cost of such pursuits “represents a roughly 71% increase in [personnel] costs over ...
           the same time period last year.”

       •   When “pursuits result in arrests, the Pinal County Sheriff's Office incurs the cost of
           incarcerating the individual….an additional cost of $1,750 per booking on average.”

       •   “[T]he increase in incidents, and therefore increase in costs, ... is at least in part directly
           related to announced changes in federal border enforcement and alien removal policies.”

    4. Attached hereto as Exhibit 3 is a true and correct copy of the Declaration of Mark Dannels,
       who is the Sheriff of Cochise County, Arizona, and has over 37 years of law enforcement
       experience. The declaration includes a PowerPoint presentation created by the Cochise
       County Sheriff’s Office detailing several key statistics regarding illegal immigration and drug
       smuggling through the portion of the U.S.-Mexico border on which Cochise County sits.
       Among other things, the declaration states that:

       •   “Individuals illegally crossing through [the border] cut trails, trample plant life, and leave
           behind litter and potentially hazardous waste including soiled clothing and excrement.”

       •   Since October 2021, Cochise County has experienced “an increase in costs related to
           pursuits and apprehensions of illegal immigrants and the costs of property damage and
           other crimes in our community.”

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    5. Attached hereto as Exhibit 4 is a true and correct copy of the Declaration of Robert J.
       Trenschel, DO, MPH, FACHE, who is the President and Chief Executive Officer of Yuma
       Regional Medical Center (YRMC), which “is a 406-bed, not-for-profit hospital serving Yuma,
       Arizona, and the surrounding area. Among other things, the declaration states that:

       •   “From January through June 2019, … an estimated 1,293 adult [alien] patients were
           brought to YRMC while in ICE custody” and that “[t]he estimated cost of [their] care in
           that six-month period was $810,433,” but that only $264,383 was reimbursed, “leaving a
           $546,050 unreimbursed gap for that six-month period alone…. These cost estimates also
           do not include the substantial care expenses for the multiple mothers who delivered babies
           at YRMC while under ICE custody during that timeframe.”

    6. Attached hereto as Exhibit 5 is a true and correct copy of the Declaration of Jennifer Abbotts,
       who is an Administrative Services Officer III at the Arizona Department of Corrections,
       Rehabilitation and Reentry (ADCRR). Among other things, the declaration names specific
       individuals subject to immigration detainers, indicating that they are illegally present in the
       United States, but who are or were released on community supervision within Arizona. The
       declaration also includes a report showing ADCRR’s records of the large number of inmates
       subject to ICE Detainers as of April 29, 2021:

    7. Attached hereto as Exhibit 6 is a true and correct copy of the Declaration of Shaka Okougbo,
       DC Operations Manager at ADCRR. Among other things, the declaration states:

       •   “The cost to ADCRR and the State of Arizona from persons being placed in community
           supervision per person is $4,163.60 per year. (2019)”

    8. Exhibits 1 through 6 contain declarations and reaffirmations of declarations that were
       originally filed in Arizona v. DHS, No. CV-21-00186-PHX-SRB, 2021 WL 2787930 (D. Ariz.
       June 30, 2021) or Arizona v. Mayorkas, No. CV-21-00617-PHX-DWL, 2022 WL 357348 (D.
       Ariz. Feb. 7, 2022), as indicated, and contain facts the court found relevant to determining
       that Arizona had standing in those cases. of

    9. Attached as Exhibit 7 is a true and correct copy of a Memorandum of Understanding between
       the U.S. Department of Homeland Security and the Arizona Attorney General’s Office
       [“AGO”] that was executed on January 8, 2021 in which DHS states the following:
              DHS recognizes that [the AGO], like other state agencies and municipalities, is directly
              and concretely affected by changes to DHS rules and policies that have the effect of
              easing, relaxing, or limiting immigration enforcement. Such changes can negatively
              impact [the AGO’s] law enforcement needs and budgets, as well as its other important
              health, safety, and pecuniary interests of the State of Arizona. The harm to [the AGO]
              is particularly acute where [the AGO’s] budget has been set months or years in advance
              and it has no time to adjust its budget to respond to DHS policy changes. Specifically,
              DHS recognizes that the following actions result in direct and concrete injuries to [the
              AGO], including increasing the rate of crime, consumption of public benefits and
              services, strain upon the healthcare system, and harm to the environment, as well as
              increased economic competition with the State of Arizona's current residents for,
              among other things, employment, housing, goods and services:
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                      (1) a decrease of any immigration enforcement priorities;
                      (2) a voluntary reduction in the number of DHS agents performing immigration
                      enforcement functions;
                      (3) a decrease or pause on returns or removals of removable or inadmissible
                      aliens;
                      ( 4) a decrease or pause on apprehensions or administrative arrests;
                      (5) relaxation of the standards for granting relief from return or removal, such
                      as asylum;
                      (6) an increase in releases from detention;
                      (7) a relaxation of the standards for granting release from detention;
                      (8) changes to immigration benefits or eligibility, including work authorization,
                      discretionary actions, or discretionary decisions; and
                      (9) rules, policies, procedures, and decisions that could result in significant
                      increases to the number of people residing in a community.

    10. Attached as Exhibit 8 are true and correct copies of posts from the official Twitter account
        for the CBP Chief Patrol Agent for the Yuma Sector that list the following notable border
        apprehensions of 10 criminal aliens during the month of December 2021:

       •   Rosario Lugo-Parra who had “multiple felony convictions for drug possession, assault and
           robbery.” Yuma, Arizona Border Patrol Sector Chief Patrol Agent Chris T. Clem
           (@USBPChiefYUM),              TWITTER,        (Dec.     21,     2021,      7:56      PM),
           https://twitter.com/USBPChiefYUM/status/1473487668168192000.
       •   Joel Campos-Velis, “a suspected MS-13 gang member with an assault conviction.” Yuma,
           Arizona Border Patrol Sector Chief Patrol Agent Chris T. Clem (@USBPChiefYUM),
           TWITTER,               (Dec.            15,           2021,           7:09           PM),
           https://twitter.com/USBPChiefYUM/status/1471120221268185090.
       •   Gabriel Hernandez-Perez who previously had been “convicted of attempted aggravated
           sexual battery.” Yuma, Arizona Border Patrol Sector Chief Patrol Agent Chris T. Clem
           (@USBPChiefYUM),              TWITTER,        (Dec.     15,     2021,      7:09      PM),
           https://twitter.com/USBPChiefYUM/status/1471120221268185090.
       •   Jose Jesus Villanueva-Canchola who previously had been “convicted of conspiracy to
           distribute a controlled substance.” Yuma, Arizona Border Patrol Sector Chief Patrol Agent
           Chris T. Clem (@USBPChiefYUM), TWITTER, (Dec. 7, 2021, 8:01 PM),
           https://twitter.com/USBPChiefYUM/status/1468596679356006406.
       •   Armando Veliz-Samayoa who previously had been convicted of “a drive-by shooting,
           theft, transporting and selling narcotics, and bank robbery.” Yuma, Arizona Border Patrol
           Sector Chief Patrol Agent Chris T. Clem (@USBPChiefYUM), TWITTER, (Dec. 3, 2021,
           12:17 PM), https://twitter.com/USBPChiefYUM/status/1466849092185690113.
       •   Isaac Humberto Cuen-Logo who previously had been convicted of “a drive-by shooting,
           theft, transporting and selling narcotics, and bank robbery.” Yuma, Arizona Border Patrol
           Sector Chief Patrol Agent Chris T. Clem (@USBPChiefYUM), TWITTER, (Dec. 3, 2021,
           12:17 PM), https://twitter.com/USBPChiefYUM/status/1466849092185690113.
       •   Jose Reynaldo Argueta-Ventura who previously had been “convicted of voluntary
           manslaughter.” Yuma, Arizona Border Patrol Sector Chief Patrol Agent Chris T. Clem


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           (@USBPChiefYUM),           TWITTER,        (Dec.      3,      2021,     12:14       PM),
           https://twitter.com/USBPChiefYUM/status/1466848448833994754.
       •   Elvis Guzman-Rodriguez who “two [prior] felony convictions for robbery and assault on
           a fellow inmate.” Yuma, Arizona Border Patrol Sector Chief Patrol Agent Chris T. Clem
           (@USBPChiefYUM),           TWITTER,         (Dec.      2,      2021,     2:34       PM),
           https://twitter.com/USBPChiefYUM/status/1466521070920298497.
       •   Guadalupe Salamanca-Sedano who had been “convicted ... in 2000 and 2010 for
           possession of narcotics.” Yuma, Arizona Border Patrol Sector Chief Patrol Agent Chris
           T. Clem (@USBPChiefYUM), TWITTER, (Dec. 2, 2021, 2:33 PM),
           https://twitter.com/USBPChiefYUM/status/1466520814623199235.
       •   Border Patrol “attempted a vehicle stop ..., but the driver fled and a pursuit involving
           multiple agencies ensued. The driver was stopped in San Luis, AZ, and had meth, fentanyl,
           cocaine, heroin and $10K.” Yuma, Arizona Border Patrol Sector Chief Patrol Agent Chris
           T. Clem (@USBPChiefYUM), TWITTER, (Dec. 2, 2021, 7:46 PM),
           https://twitter.com/USBPChiefYUM/status/1466418419595624459.

    11. Attached as Exhibit 9 are true and correct copies of posts from the official Twitter account
        for the CBP Chief Patrol Agent for the Tucson Sector that list the following notable border
        apprehensions/encounters of 15 criminal aliens during the month of December 2021:

       •   Border Patrol agents “seized over 50 pounds of meth from a pickup truck” being driven
           by a Mexican citizen who “will be prosecuted.” Tucson, Arizona Border Patrol Sector
           Chief Patrol Agent John R. Modlin (@USBPChiefTCA), TWITTER, (Dec. 31, 2021, 11:39
           AM), https://twitter.com/USBPChiefTCA/status/1476986269175533570.
       •   A “previously removed Mexican citizen, [who] was carrying a loaded firearm” was
           apprehended smuggling three illegal aliens, including a minor. The driver “faces
           prosecution.” Tucson, Arizona Border Patrol Sector Chief Patrol Agent John R. Modlin
           (@USBPChiefTCA),           TWITTER,        (Dec.     27,      2021,      10:20       AM),
           https://twitter.com/USBPChiefTCA/status/1475516835810398218.
       •   Jose Toxqui-Milhultecalt, “a previously removed Mexican citizen, felon, and registered sex
           offender. In 2011, he plead guilty to 2nd Degree Rape with a person under 15 years old in
           Kings County, #NYC.” He will be prosecuted.” Tucson, Arizona Border Patrol Sector
           Chief Patrol Agent John R. Modlin (@USBPChiefTCA), TWITTER, (Dec. 24, 2021, 11:25
           AM), https://twitter.com/USBPChiefTCA/status/1474446026555731972.
       •   Orlando Alvarado-Avila, a “Guatemalan citizen was convicted of felony Kidnapping in
           #NewJersey, and received an 11 year prison sentence.” Tucson, Arizona Border Patrol
           Sector Chief Patrol Agent John R. Modlin (@USBPChiefTCA), TWITTER, (Dec. 18, 2021,
           2:59 PM), https://twitter.com/USBPChiefTCA/status/1472325554896519183.
       •   Vincente Lopez-Jacinto a “Mexican citizen ... felon, convicted of unlawful sexual
           intercourse with a minor under 16 in #FresnoCounty, CA.” Tucson, Arizona Border
           Patrol Sector Chief Patrol Agent John R. Modlin (@USBPChiefTCA), TWITTER, (Dec.
           14,                        2021,                        6:28                         AM),
           https://twitter.com/USBPChiefTCA/status/1470747405591138305.
       •   “Eduardo Zaldaña-Calderon, a citizen of El Salvador and registered sex offender. In 2015,
           he was convicted of Sexual Assault of a Child in #Houston, TX. Tucson Sector agents
           continue to encounter migrants convicted of dangerous crimes.” Tucson, Arizona Border
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            Patrol Sector Chief Patrol Agent John R. Modlin (@USBPChiefTCA), TWITTER, (Dec.
            12, 2021, 4:52 PM), https://twitter.com/USBPChiefTCA/status/1470179664786333706.
        •   Victor Renteria, a Mexican citizen ... convicted of felony Endangering the Welfare of a
            Child, Sexual Conduct, in #NewJersey.” Tucson, Arizona Border Patrol Sector Chief
            Patrol Agent John R. Modlin (@USBPChiefTCA), TWITTER, (Dec. 11, 2021, 2:58 PM),
            https://twitter.com/USBPChiefTCA/status/1469788587851976712.
        •   Lazaro Lopez-Gomez a “Mexican citizen ... felon, convicted of Taking Indecent Liberties
            With a Child Under 15 in #Virginia.” Tucson, Arizona Border Patrol Sector Chief Patrol
            Agent John R. Modlin (@USBPChiefTCA), TWITTER, (Dec. 9, 2021, 4:33 PM),
            https://twitter.com/USBPChiefTCA/status/1469087719708143624.
        •   “Juan Montes, a Mexican citizen, ... convicted of Participating in a Criminal Street Gang,
            Assault w/ a Deadly Weapon, Conspiracy Assault w/ a Firearm, and Attempted Murder
            in #OrangeCounty, CA.” Tucson, Arizona Border Patrol Sector Chief Patrol Agent John
            R. Modlin (@USBPChiefTCA), TWITTER, (Dec. 8, 2021, 1:58 PM),
            https://twitter.com/USBPChiefTCA/status/1468686325071200259.
        •   Border Patrol observed two aliens hiding a car tire containing “[o]ver 55 pounds of
            cocaine, methamphetamine, and fentanyl.” The aliens “abscond[ed] to Mexico.” Tucson,
            Arizona Border Patrol Sector Chief Patrol Agent John R. Modlin (@USBPChiefTCA),
            TWITTER,               (Dec.           6,           2021,             5:30            PM),
            https://twitter.com/USBPChiefTCA/status/1468014915944386569.
        •   “Miguel Vasquez-Hernandez, a Guatemalan citizen, ... convicted of lewd or lascivious acts
            with a child, a felony, in #LosAngeles, CA.” Tucson, Arizona Border Patrol Sector Chief
            Patrol Agent John R. Modlin (@USBPChiefTCA), TWITTER, (Dec. 5, 2021, 4:52 PM),
            https://twitter.com/USBPChiefTCA/status/1467642950092001282.
        •   “Erick Elias-Ramirez, a Guatemalan citizen and registered sex offender ... [with a] felony
            conviction of attempted 1st Degree Rape with a child under 13 in #SuffolkCounty, NY.”
            Tucson, Arizona Border Patrol Sector Chief Patrol Agent John R. Modlin
            (@USBPChiefTCA),             TWITTER,      (Dec.       4,      2021,       3:12       PM),
            https://twitter.com/USBPChiefTCA/status/1467255395857149959.
        •   Two aliens were arrested “carrying large packs containing methamphetamine. The
            combined weight exceeded 93 pounds.” Tucson, Arizona Border Patrol Sector Chief
            Patrol Agent John R. Modlin (@USBPChiefTCA), TWITTER, (Dec. 2, 2021, 9:30 AM),
            https://twitter.com/USBPChiefTCA/status/1466444577879986181.




 I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge,
 and that this declaration was issued on April 13, 2022 in Phoenix, Arizona.


                                                               _________________
                                                               Anthony R. Napolitano
                                                               Assistant Attorney General
                                                               Arizona Attorney General’s Office


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                          Exhibit 1
                           Napolitano Declaration




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                           Exhibit 2
                            Napolitano Declaration




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                           Exhibit 3
                            Napolitano Declaration




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       Exhibit MD-1




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     1                           UNITED STATES DISTRICT COURT
     2                                  DISTRICT OF ARIZONA
     3   State of Arizona,
     4            Plaintiff,                          Case No: 2:21-cv-00617-DWL
     5          v.

     6   Alejandro Mayorkas in his official        DECLARATION OF MARK DANNELS
         capacity as Secretary of Homeland
     7
         Security; United States Department of
     8   Homeland Security; Troy Miller in his
         official capacity as serves as Senior
     9   Official Performing the Duties of the
   10    Commissioner of U.S. Customs and
         Border Protection; Tae Johnson in his
   11    official capacity as Senior Official
         Performing the Duties of Director of U.S.
   12    Immigration and Customs Enforcement;
   13    United States Department of Defense;
         Lloyd Austin in his official capacity as
   14    Secretary of Defense,
   15             Defendants.
   16
         I, Mark Dannels, declare as follows:
   17
                1.      I am competent to testify as to the matters contained herein and make this
   18
         declaration based on my own personal and professional knowledge, law enforcement
   19
         expertise, and the information available to me in my positions in public service.
   20
                2.      I currently serve as Sheriff of Cochise County, Arizona, and have been a
   21
         law enforcement officer for over 37 years.
   22
                3.      Cochise County includes over 80 miles of the international border between
   23
         the United States and Mexico, east of Nogales, AZ.
   24
                4.      Construction of the border wall was ongoing in Cochise County until it
   25
         ceased on or about January 20, 2021, roughly four weeks shy of the anticipated
   26
         completion time the construction contractors communicated to my office
   27
   28
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     1          5.     The border wall construction site left behind by the crews is incomplete and
     2   in its current state is worse in many respects than it was before construction started.
     3          6.     Significant gaps exist in the wall through which illegal human traffic
     4   funnels into the United States, and ground sensors that were installed as part of the wall
     5   project have not been made fully operational
     6          7.     Individuals illegally crossing through these gaps cut trails, trample plant
     7   life, and leave behind litter and potentially hazardous waste including soiled clothing and
     8   excrement.
     9          8.     Much of the border area of Cochise County, representing the southeastern
   10    corner of Arizona, contains natural barriers such as mountains and large desert.
   11           9.     The border wall construction site added now-unprotected infrastructure to
   12    some of these places, making the passage easier to those entering the country illegally.
   13           10.    Other areas contain construction roads where the natural land surface was
   14    turned into a dirt road but not finished into an all-weather road. These construction roads
   15    can flood or otherwise become impassable during and after rains, making law
   16    enforcement patrol of certain border areas impossible at times.
   17           11.    Drug cartels and other smuggling operations take advantage of the
   18    opportunity where these road conditions restrict law enforcement movement along the
   19    border (due to the condition of the roads running parallel to the wall) to increase their
   20    traffic, across the border in areas law enforcement cannot reach when it storms.
   21           12.    The border wall construction project also left floodgates unfinished and/or
   22    open, creating gaps in the wall through which illegal crossing activity frequently occurs
   23    and preventing the originally planned management of water flows.
   24           13.    These open or unfinished floodgate gaps turn waterways into popular points
   25    of human traffic, increasing the amount of waste, contaminants, and debris left behind by
   26    illegal border crossers, which may then be further disbursed into the environment when
   27    carried by water flows.
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     1          14.     Cochise County, Arizona, includes a large section of desert through which
     2   unauthorized aliens often attempt to travel. Cochise County Sheriff’s Office routinely
     3   works with the U.S. Border Patrol and other federal authorities in the pursuit and capture
     4   of such individuals.
     5          15.     That the Nogales section of the border wall, which neighbors Cochise
     6   County, is unfinished is also of particular significance to the flow of illegal traffic across
     7   the U.S.-Mexico border.
     8          16.     Much illegal border crossing activity originates from and converges back
     9   onto main highways, such as I-19 through Nogales on the U.S. side and the highways it
   10    connects to in Mexico, with individuals often crossing on a parallel path to the highway
   11    just a few miles east or west of it. My office observes similar highway-focused
   12    trafficking behavior in connection with Highway 92 in Cochise County, a portion of
   13    which runs parallel to the border roughly three miles north of it.
   14           17.     In addition to the natural barriers described above, no interstate highway
   15    connects to the international border in Cochise County as I-19 does in Nogales.
   16           18.     This makes the Nogales area a more popular illegal crossing point than
   17    Cochise County due to Nogales’s ease of transit, especially before the changes to the
   18    Cochise landscape initiated by the incomplete border wall construction project, so
   19    completion of the border wall in Nogales is highly likely to reduce the volume and ease
   20    of illegal traffic across the border.
   21           19.     Overall, the unfinished state of the border wall project has contributed to
   22    increased illegal traffic across the United States-Mexico border and the negative
   23    environmental impacts that come with it.
   24           20.     Attached as Exhibit 1 is a true and correct copy of a PowerPoint
   25    presentation covering Southeastern Arizona Border Region Enforcement Team (SABRE)
   26    statistics regarding border enforcement activities collected in the normal course of
   27    business.
   28
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     1         I declare under penalty of perjury that the foregoing is true and correct to the best
     2   of my knowledge, and that this declaration was issued on October __, 2021, in Cochise
     3   County, Arizona.
     4
                                                     _________________________
     5                                               Mark Dannels
     6                                               Sheriff
                                                     Cochise County Sheriff’s Office
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                  Declaration of Mark Dannels

                    Exhibit 1




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                                                 Cochise County
                                                 Sheriff’s Office


                                                 SABRE / Ranch Patrol
                                                 Sergeant Williams




1




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                                   SABRE activities (2017 to Present)



                                   •   Monitoring Established Buckeye systems.
                                   •   Undocumented Aliens – 48,026
                                   •   Drug Smuggling Mules – 429
              SABRE                •   Marijuana Seized – 12,005.77 LBS
                                   •   Meth Seized – 15.6504 LBS
                                   •   Cocaine – 1.0 Gram




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      September                    •   Undocumented Aliens – 3557
                                   •   Apprehended ‐ 1260
             Unit                  •   Drug Smuggling Mules ‐ 0

        Statistics                 •   Apprehended ‐ 0




3




                                                                      WDLA-PI-0177
Case 6:22-cv-00885-RRS-CBW
       Case
        Case1:21-cv-00100-EGS
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                                Apprehension

                                 Undocumented Aliens
        4500

        4000

        3500

        3000

        2500

        2000

        1500

        1000

         500

           0




                                     Apprhended   Total




4




                                                                      WDLA-PI-0178
Case 6:22-cv-00885-RRS-CBW
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        Case1:21-cv-00100-EGS
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                       Buckeye Activity 19/20/21
                         Undocumented Aliens

      4000
      3500
      3000
      2500
      2000                                                               2019
      1500                                                               2020
      1000                                                               2021
       500
          0




5




                                                                    WDLA-PI-0179
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                       Buckeye Activity 19/20/21
                         Drug Smuggling Mule

        40
        35
        30
        25
        20                                                               2019
        15                                                               2020
        10                                                               2021
         5
         0




6




                                                                    WDLA-PI-0180
Case 6:22-cv-00885-RRS-CBW
       Case
        Case1:21-cv-00100-EGS
              2:21-cv-00617-DWL
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                                  Drug Smuggling Mules
                                          vs
                                  Undocumented Aliens



                              2017/2018/2019/2020/2021
      30000


      25000


      20000


      15000


      10000


       5000


         0
                2017          2018               2019             2020    2021
                           Drug Mules   Undocumented Aliens   Marijuana




7




                                                                          WDLA-PI-0181
Case 6:22-cv-00885-RRS-CBW
       Case
        Case1:21-cv-00100-EGS
              2:21-cv-00617-DWL
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       2021 Total
          SABRE                   •
                                  •
                                      LBS OF Marijuana ‐807.60
                                      Undocumented Aliens – 27,695
        Statistics                •   Drug Smuggling Mules ‐ 47




8




                                                                     WDLA-PI-0182
Case 6:22-cv-00885-RRS-CBW
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                    Total SABRE Statistics
                   January 2017 to Present
      Felony Arrest ‐ 89

      Years of Incarceration – 114

      LBS of Marijuana ‐ 12,005.77 LBS

      Undocumented Aliens – 48,026

      Drug Smuggling Mules – 429

      Undocumented Aliens Apprehended – 17,645/48,026 (37% Apprehension Rate)




9




                                                                      WDLA-PI-0183
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                           Exhibit 4
                            Napolitano Declaration




                                                                      WDLA-PI-0184
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       Case 1:21-cv-00100-EGS Document
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

   THE STATE OF ARIZONA,
   By and through its Attorney General, Mark
   Brnovich, et al.,

   THE STATE OF LOUISIANA,
   By and through its Attorney General, JEFF
   LANDRY,

   THE STATE OF MISSOURI,                               CIVIL ACTION NO. _______________
   By and through its Attorney General, ERIC S.
   SCHMITT;

                                         PLAINTIFFS,

   v.

   CENTERS FOR DISEASE CONTROL &
   PREVENTION; et al.,

                                       DEFENDANTS.


                      DECLARATION OF ROBERT J. TRENSCHEL, DO, MPH, FACHE

  I, Dr. Robert J. Trenschel, declare as follows:
      1. I am over 18 years of age and am fully competent to make this declaration.

        2. Attached hereto as Exhibits RT-1 and RT-2 are true and correct copies of the Declarations of
           Robert Trenschel, DO, MPH, FACHE, (“Declarations”) I previously prepared and signed,
           which were submitted to the District of Arizona.

        3. I reaffirm the statements made in that Declarations.

        4. Similar costs and other impacts as set out in those Declarations are ongoing and continue
           today. The exact amounts of these costs and other impacts may fluctuate with time and
           changes in circumstances from those listed, but the Declarations provide a reasonable
           representation of the ongoing costs and impacts currently experienced by Yuma Regional
           Medical Center.

                                                                  _________________
                                                                  Robert Trenschel (Apr 8, 2022 16:35 PDT)

                                                                  Robert J. Trenschel
                                                                  President and Chief Executive Officer
                                                                  Yuma Regional Medical Center
                                                         1
                                                                                                        WDLA-PI-0185
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         Exhibit RT-1




                                                                      WDLA-PI-0186
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       Case
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              2:21-cv-00186-SRBDocument
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      1                           UNITED STATES DISTRICT COURT
      2                                  DISTRICT OF ARIZONA
      3
          State of Arizona; State of Montana; and
      4   Mark Brnovich, in his official capacity       Case No: 2:21-cv-00186-SRB
          as Attorney General of Arizona,
      5            Plaintiffs,
      6          v.                                     DECLARATION    OF ROBERT                 J.
                                                        TRENSCHEL, DO, MPH, FACHE
      7
          United States Department of Homeland
      8   Security; United States of America;
          Alejandro Mayorkas, in his official
      9   capacity as Secretary of Homeland
     10   Security; Troy Miller, in his official
          capacity as Acting Commissioner of
     11   United States Customs and Border
          Protection; Tae Johnson, in his official
     12
          capacity as Acting Director of United
     13   States Immigration and Customs
          Enforcement; and Tracy Renaud, in her
     14   official capacity as Acting Director of U.S
          Citizenship and Immigration Services,
     15
                  Defendants.
     16

     17
          I, Dr. Robert J. Trenschel, declare as follows:
     18
                 1.     I am competent to testifY as to the matters contained herein and make this
     19
          declaration based on my own personal and professional knowledge and the information
    20
          available to me in the course of business.
     21
                 2.     I currently serve as the President and Chief Executive Officer of Yuma
     22   Regional Medical Center (YRMC).
     23
                 3.     YRMC is a 406-bed, not-for-profit hospital serving Yuma, Arizona, and the
     24
          surrounding area.
     25
                 4.     YRMC regularly provides emergency medical services to undocumented
     26
          migrants, including such migrants brought to YRMC under the custody of U.S.
     27
          Immigrant and Customs Enforcement (ICE).
     28
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      1          5.    From January through June 2019, YRMC records show that an estimated
      2   1,293 adult patients were brought to YRMC while in ICE custody. This number does not
      3   include children brought to YRMC by ICE or non-custodial visits by undocumented
      4   migrants who obtained care at YRMC.
      5          6.    The estimated cost of care in that six-month period for the 1,293
      6   individuals mentioned above was $810,433 according to our business records.
      7         7.     YRMC has only received $264,383 in reimbursement for the care it
      8   provided, leaving a $546,050 unreimbursed gap for that six-month period alone.
      9          8.    These cost estimates also do not include the substantial care expenses for
     10   the multiple mothers who delivered babies at YRMC while under ICE custody during
     11   that timeframe.
     12         I declare under penalty of perjury that the foregoing is true and cotTect to the best
     13   of my knowledge, and that this declaration was issued on March 5, 2021, in Yuma,
     14   Arizona.
     15
     16                                                Robert Tre1SCI1;1 (Mar 5, 202118:46 PST}

     17                                                Robert J. Trenschel
                                                       President and Chief Executive Officer
     18                                                Yuma Regional Medical Center
     19
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         Exhibit RT-2




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                  Exhibit A  [to Trenschel Declaration]




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          Case1:21-cv-00100-EGS
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 Discharge      All ICE Custody Patients    Current Charges   Estimated Cost     Current Payments
Month & Year   (Mexican & Non-Mexican)         Incurred           of Care            Received
 MAY-2020                              12           $43,604             $6,570                $4,306
 JUN-2020                              34          $297,891           $44,884                $35,933
 JUL-2020                              22          $143,240           $21,582                $36,677
 AUG-2020                              29          $439,596           $66,234               $108,163
 SEP-2020                              61          $330,952          $195,481                $35,942
 OCT-2020                              67          $407,282          $165,410                $64,713
 NOV-2020                              29          $123,979           $18,680                 $8,890
 DEC-2020                              16           $68,276           $10,287                 $5,986
 JAN-2021                              47          $229,599           $34,594                 $6,145
 FEB-2021                              61          $591,610           $89,139                $30,471
 MAR-2021                              37          $354,269           $53,378                 $4,336
 APR-2021                              13           $24,746             $3,728                   $0
   Totals                             428        $3,055,045          $709,968               $341,559




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                           Exhibit 5
                            Napolitano Declaration




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DMSION

  THE STATE OF ARIZONA,
  By and through its Attorney General, MARK
  BRNOVICH,

  THE STATE OF LOUISIANA,
  By and through its Attorney General, JEFF
  LANDRY,                                             CIVIL ACTION NO. _____

  THE STATE OF MISSOURI,
  By and through its Attorney General, ERIC S.
  SCHMITT, et al.;

                                        PLAINTIFFS,

  v.

  CENTERS FOR DISEASE CONTROL &
  PREVENTION; et al.,

                                      DEFENDANTS.


                                    DECLARATION OF JENNIFER ABBOTIS

  I, Jennifer Abbotts, declare as follows:
       1. I am over 18 years of age and am fully competent to make this declaration.

       2. Attached hereto as Exhibit JA-1 is a true and correct copy of the Declaration of Jennifer
          Abbots ("Declaration") I previously prepared and signed, which was submitted to the
          District of Arizona.

       3. I reaffirm the statements made in that Declaration.

       4. Since the time of that Declaration, the Department of Homeland Security has similarly failed
          to take into custody other individuals on whom detainers were previously placed.

                                                                      #-,6601-fs
                                                                Administrative Services Officer III
                                                                Arizona Department of Corrections,
                                                        1



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         Exhibit JA-1




                                                                      WDLA-PI-0196
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                            Exhibit A
                               [to Abbotts Declaration]




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